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                  IN THE UNITED STATES DISTRICT COURT FOR T
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                          EASTERN DISTRICT OF VIRGINIA

                                    Al      A. n. ..                       u        MAY 2 5 2010
                                    Alexandria Division

                                                                               CLERK. U.S. DISTRICT COURT
                                                                                  ALEXANDRIA. VIRGINIA
UNITED STATES OF AMERICA                       )
                                               )
             v.                                )
                                               )       Criminal Case No. 1:10-MJ-309
EUGENE ANTHONY THOMAS                          )
a/k/a "Tony THOMAS"                            )




     AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT


       I, Mark Ambrozy, being duly sworn, depose and state that:

       I.         BACKGROUND


1.     I am a Special Agent with the United States Department of Justice, Bureau of


Alcohol, Tobacco, Firearms and Explosives ("ATF") and have been so employed since


August 1999. I was previously employed with the Richmond Police Department in


Richmond, Virginia, for over ten and one half years, where my work focused primarily

on firearm and narcotics related crimes.


2.     I am currently assigned to the ATF Falls Church II Field Office in the Washington


Field Division, where one of my primary duties is the enforcement of Federal firearm

laws. While employed with ATF, I have participated in numerous firearm related

investigations with several police departments throughout Northern Virginia involving


violent crimes. In my capacity as a law enforcement officer, I have conducted, and

participated in, investigations of individuals involved in the illegal possession and illegal

use of firearms resulting in convictions for violations of Federal and State firearms laws




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throughout the Commonwealth of Virginia.


3.     I submit this affidavit in support of a criminal complaint and arrest warrant

charging Eugene Anthony THOMAS, aka "TONY THOMAS," with knowingly and

unlawfully delaying and affecting commerce as that term is defined in Title 18, United

States Code, Section 1951, and the movement of articles and commodities in such


commerce, by robbery as that term is defined in Title 18, United States Code 1951, in


that the defendant Eugene Anthony THOMAS did take and obtain personal property

consisting of cash, from the presence of an employee of a business against their will by

means of actual and threatened force, violence, and fear of immediate and future injury to


their persons, while the employee engaged in commercial activities as a clerk for a


business that affects interstate commerce, in violation of 18 U.S.C. §1951.


4.     I have not included every fact that I know about Eugene Anthony THOMAS and

his illegal activities. Rather, I included only those facts I believe are needed to


demonstrate probable cause for the complaint and warrant I seek. The facts and


information contained in this affidavit are based upon my personal knowledge of this

investigation, on information conveyed to me by other law enforcement officials,

information conveyed to me during the interview of a suspect and on my review of


records, documents and other physical evidence related to the defendant's activities.

       II.     PROBABLE CAUSE


5.     On or about April 14,2010, at approximately 7:20 AM, a subject, resembling

THOMAS entered the BP gas station located at 5000 Wilson Boulevard in Arlington


County, Virginia, within the Eastern District of Virginia. At this time, the subject asked

and proceeded to use the restroom facilities. The subject then left the premises after
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exiting the restroom.

6.      That same day, on or about April 14,2010, at approximately 8:00 AM the same

subject came back inside of the gas station and approached the clerk. The subject gave


the clerk a ten dollar bill and requested change. The clerk opened the cash register to

give the subject a five dollar bill and five one dollar bills. The suspect then pulled out a

handgun with his right hand and pointed it at the clerk. The subject demanded the clerk

take out the whole drawer and all of the money inside of the cash register. The clerk took

out the drawer and set it down. The subject then flipped up the arms of the cash drawer

and removed the cash with his left hand. Approximately $200 was stolen from the

register at this time.   The subject fled from the business on foot. Arlington Police

Department personnel responded to the robbery and processed the crime scene.

7.      I have reviewed BP security video and still-photographs of the robbery, the still

photos show THOMAS with what appears to be a firearm in his right hand. I believe the

individual in the video is EUGENE ANTHONY THOMAS because I have reviewed a

known photograph of EUGENE ANTHONY THOMAS and personally observed


THOMAS during police interviews.

8.      I spoke with the manager of the BP gas station who indicated that his station sells

BP brand gasoline, which is a worldwide energy corporation. This particular station


receives its gasoline from Eastern Petroleum Corporation, located in Annapolis,


Maryland. Further, the gasoline is delivered to this BP station by Colonial Pipeline

Company, headquartered in Alpharetta, Georgia. As a result of the robbery by

THOMAS, the BP station was forced to close to the public for approximately two hours,

thus affecting interstate commerce.
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9.      Based on the forgoing information, the affiant has probable cause to believe that

on or about April 14,2010, in Arlington County, Virginia, within the Eastern District of

Virginia, Eugene Anthony THOMAS, a/k/a "Tony Thomas," did knowingly and

unlawfully delay and affect commerce as that term is defined in Title 18, United States

Code, Section 1951, and the movement of articles and commodities in such commerce,

by robbery as that term is defined in Title 18, United States Code 1951, in that the

defendant Eugene Anthony THOMAS did take and obtain personal property consisting of

cash, from the presence of an employee of a business against their will by means of

actual and threatened force, violence, and fear of immediate and future injury to their

persons, while the employee engaged in commercial activities a clerk for a business that

affects interstate commerce, in violation of 18 U.S.C. §1951.




                                                                ark Ambroz
                                                             Special Agent
                                                             Bureau of Alcohol, Toba^
                                                             Firearms and Explosives


Sworn and subscribed to before me
This    Z.**^ day of May, 2010
     /s/Thomas Rawles Jones, Jr.
The Honorable T. Rawles Jones, Jr.
United States Magistrate Judge
